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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA,
                  Plaintiff

             V.                               CRIMINAL NO. 17-119 (NLH)

SANTOS COLON,                                     ORDER MODIFYING
                           Defendant          CONDITIONS OF RELEASE


      This matter having been opened to the Court by the defendant, Santos

Colon, through his attorney, Richard Coughlin, Federal Public Defender, who seek

an Order which modifies the existing conditions of release to allow Mr. Colon to

schedule overnight visits to his family residence with prior approval by Pretrial

Services, and to travel alone by public transportation to report as directed by

Pretrial Services, and the United States, Patrick C. Askin, Assistant United States

Attorney, having no objection, and good and sufficient cause having been shown,

      IT IS on this   2 o-f'1--   day of August, 2019, ORDERED that the

Conditions of Release are amended as follows:

      1. Santos Colon is permitted to schedule overnight visits to his family

         residence. All overnight visits must first be approved by Pretrial

         Services.
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      2. Santos Colon is permitted to travel alone by public transportation to

          attend scheduled meetings with Pretrial Services. All travel by public

          transportation must first be approved by Pretrial Services.



All other conditions of release, including location monitoring, remain in full force

and effect.




                                              HONORABLE NOEL L. HILLMAN
                                              United States District Judge

Dated:
